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         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK


         HASAN TAHIRAJ,                                                  CIVIL ACTION
                                                                   No. 17-cv-00167 (JBW) (LB)
                        Plaintiff,
         v.

         BROOKLYN KINGS PLAZA LLC and
         SCUNGIO BORST & ASSOCIATES, LLC,                      ANSWER AND AFFIRMATIVE
                                                            DEFENSES OF DEFENDANT SCUNGIO
                          Defendants.                          BORST & ASSOCIATES, LLC



                Defendant, Scungio Borst & Associates, LLC (“Defendant”), through their counsel,

         Genova Burns LLC, by way of Answer to the Amended Complaint of Plaintiff, Hasan Tahiraj,

         hereby states as follows:

                                                AS TO PARTIES

                1.      Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                2.      Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                3.      Admitted. Defendant admits the allegations contained in this Paragraph.

                                             AS TO JURISDICTION

                4.      Denied. The allegations set forth in this Paragraph are conclusions of law and do

         not constitute averments of fact for which a responsive pleading is required. To the extent a

         response is required, Defendant lacks knowledge or information sufficient to form a belief as to

         the allegations and denies the same.




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                5.      Denied. The allegations set forth in this Paragraph are conclusions of law and do

         not constitute averments of fact for which a responsive pleading is required. To the extent a

         response is required, Defendant lacks knowledge or information sufficient to form a belief as to

         the allegations and denies the same.

                                                 AS TO VENUE

                6.      Denied. The allegations set forth in this Paragraph are conclusions of law and do

         not constitute averments of fact for which a responsive pleading is required. To the extent a

         response is required, Defendant lacks knowledge or information sufficient to form a belief as to

         the allegations and denies the same.

                7.      Denied. The allegations set forth in this Paragraph are conclusions of law and do

         not constitute averments of fact for which a responsive pleading is required. To the extent a

         response is required, Defendant lacks knowledge or information sufficient to form a belief as to

         the allegations and denies the same.

                                                  AS TO FACTS

                8.      Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                9.      Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                10.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                11.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.




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                12.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                13.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                14.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                15.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                16.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                17.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                18.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                19.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                20.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                21.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                22.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.




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                23.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                24.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                25.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                26.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                27.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                28.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                29.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                30.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                31.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                32.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.



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                33.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                34.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                35.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                36.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                37.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                38.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                39.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                40.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.




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                41.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                42.     Admitted in part; denied in part. Defendant admits only that it performed work at

         the premises, the scope of which is defined in a contract which speaks for itself. Defendant

         denies the remaining averments.

                43.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                44.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                45.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                46.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                47.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                                              AS TO THE CLAIM

                48.     Defendant repeats its answers and denials to the allegations contained in the

         preceding Paragraphs of the Amended Complaint as if fully set forth at length herein.

                49.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                50.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.



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                51.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                52.     Denied. Defendant denies the averments contained in this Paragraph as they

         pertain to Defendant. Defendant lacks knowledge or information sufficient to form a belief as to

         the remaining allegations contained in this Paragraph as they pertain to Brooklyn Kings Plaza

         LLC, and therefore the same are denied.

                53.     Denied. Defendant denies the averments contained in this Paragraph as they

         pertain to Defendant. Defendant lacks knowledge or information sufficient to form a belief as to

         the remaining allegations contained in this Paragraph as they pertain to Brooklyn Kings Plaza

         LLC, and therefore the same are denied.

                54.     Denied. Defendant denies the averments contained in this Paragraph as they

         pertain to Defendant. Defendant lacks knowledge or information sufficient to form a belief as to

         the remaining allegations contained in this Paragraph as they pertain to Brooklyn Kings Plaza

         LLC, and therefore the same are denied.

                55.     Denied. Defendant denies the averments contained in this Paragraph as they

         pertain to Defendant. Defendant lacks knowledge or information sufficient to form a belief as to

         the remaining allegations contained in this Paragraph as they pertain to Brooklyn Kings Plaza

         LLC, and therefore the same are denied.

                                               AS TO DAMAGES

                56.     Defendant repeats its answers and denials to the allegations contained in the

         preceding Paragraphs of the Amended Complaint as if fully set forth at length herein.

                57.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.



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                 58.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                 59.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                 60.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                 61.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                 62.     Denied. Defendant lacks knowledge or information sufficient to form a belief as

         to the allegations contained in this Paragraph and therefore the same are denied.

                 WHEREFORE, Defendant demands that the Amended Complaint be dismissed with

         prejudice, together with Defendant’s attorney’s fees, costs of suit, and such further relief as the

         court shall deem just and equitable.

                                           AFFIRMATIVE DEFENSES

                                        FIRST AFFIRMATIVE DEFENSE

                 The Amended Complaint fails to state a claim upon which relief may be granted.

                                      SECOND AFFIRMATIVE DEFENSE

                 Plaintiff knew about the risk, and voluntarily undertook the risk that led to the accident or

         injuries complained of in this case.

                                       THIRD AFFIRMATIVE DEFENSE

                 The Amended Complaint does not state a viable cause of action which permits recovery

         of costs of suit incurred.




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                                      FOURTH AFFIRMATIVE DEFENSE

                Defendant did not commit any act or omission which was the proximate or competent

         producing cause of any injuries or damages alleged to have been sustained.

                                          FIFTH AFFIRMATIVE DEFENSE

                Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not suffered any

         damages caused by Defendant and/or has failed to mitigate any alleged damages.

                                          SIXTH AFFIRMATIVE DEFENSE

                Any damages sustained by Plaintiff, the existence of which are expressly denied, were

         caused by the acts and/or omissions of third parties over whom Defendant exercised no authority

         or control.

                                     SEVENTH AFFIRMATIVE DEFENSE

                Any damages alleged in the Complaint are to be reduced by any benefits Plaintiff

         received from collateral sources.

                                      EIGHTH AFFIRMATIVE DEFENSE

                Defendant did not owe any legal and/or contractual duty to Plaintiff, and to the extent any

         such duties were owed, Defendant did not breach the same.

                                          NINTH AFFIRMATIVE DEFENSE

                Plaintiff’s claims are barred by his own conduct and/or the conduct of any third parties.

                                          TENTH AFFIRMATIVE DEFENSE

                Defendant at no time exercised ownership, possession or control over the premises where

         the alleged injuries occurred.




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                                    ELEVENTH AFFIRMATIVE DEFENSE

                 Upon information and belief, the Amended Complaint is barred by the doctrines of

          waiver, estoppel, laches and unclean hands.

                                    TWELFTH AFFIRMATIVE DEFENSE

                 Defendant reserves the right to amend this Answer and to assert additional defenses

          and/or supplement, alter, or change the Answer upon completion of appropriate investigation and

          discovery.

                                                        GENOVA BURNS LLC
                                                        Attorneys for Scungio Borst & Associates


                                               By:      s/ Lawrence Bluestone
                                                        LAWRENCE BLUESTONE, ESQ.
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                                                        JAMES BUCCI, ESQ.
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                                                        GENOVA BURNS LLC
                                                        30 Montgomery Street, 11th Fl.
                                                        Jersey City, NJ 07302
                                                        Phone. 973-533-0777


          Dated: August 25, 2017




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                                           CERTIFICATE OF SERVICE

                   It is hereby certified that on August 25, 2017, a copy of the foregoing Answer and

          Affirmative Defenses of Defendant, Scungio Borst & Associates was served electronically with

          the Clerk of the United States District Court for the Eastern District of New York and was served

          electronically on Plaintiff’s counsel pursuant to ECF filing, which sent notification of such filing

          to the following:

                            Mulaney & Gjelaj, PLLC
                            Attorneys for Plaintiff
                            Hasan Tahiraj
                            Office & P.O. Address:
                            100-09 Metropolitan Avenue
                            Forest Hills, New York 11375
                            718.821.8100

                            Simmons Jannace Deluca, LLP
                            Attorneys for Defendant
                            Brooklyn Kings Plaza LLC
                            Office & P.O. Address:
                            43 Corporate Drive
                            Hauppauge, New York 11788-2048
                            631.873.4888

                   I certify that the foregoing statements made by me are true. I am aware that if any of the

          foregoing statements made by me are willfully false, I am subject to punishment.



                                         By: ___s/ Lawrence Bluestone
                                                LAWRENCE BLUESTONE, ESQ.
                                                lbluestone@genovaburns.com
                                                GENOVA BURNS LLC
                                                30 Montgomery Street, 11th Fl.
                                                Jersey City, NJ 07302
                                                Phone. 973-533-0777

          Dated: August 25, 2017
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